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 1                          UNITED STATES DISTRICT COURT
 2                                  DISTRICT OF ARIZONA
 3
                                                     No. 2:22-cv-00213-JJT
 4   State of Arizona; State of Idaho; State of
     Indiana; State of South Carolina; Mark          [PROPOSED] ORDER
 5   Brnovich, in his official capacity as
     Attorney General of Arizona;
 6                  Plaintiffs,
             v.
 7    Martin J. Walsh in his official capacity as
 8    U.S. Secretary of Labor; U.S. Department
      of Labor; U.S. Department of Labor,
 9    Wage & Hour Division; Joseph R. Biden
      in his official capacity as President of the
10    United States; Jessica Looman in her
      official capacity as Acting Administrator
11    of the U.S. Department of Labor, Wage
      & Hour Division,
12                    Defendants.
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           Having considered Plaintiff States’ Motion for Leave to File an Overlength Motion
15
     for a Preliminary Injunction, IT IS HEREBY ORDERED granting the motion. The
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     proposed motion attached to the motion for leave is deemed FILED.
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